Case 1:20-cv-00547-JAO-RT Document 1 Filed 12/10/20 Page 1 of 8                 PageID #: 1




Of Counsel:
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A Limited Liability Law Partnership

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Attorneys for Defendant
COSTCO WHOLESALE CORPORATION

                          IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF HAWAIʻI

RAY MORIGUCHI,                                       CIVIL NO. 20-547
                                                     (Other Non-Vehicle Tort)
                        Plaintiff,
                                                     NOTICE OF REMOVAL; EXHIBIT
       vs.                                           “A”; CERTIFICATE OF SERVICE

COSTCO WHOLESALE
CORPORATION; and DOE
DEFENDANTS 1-10,
                                                     Trial Date: None
                        Defendants.                  Judge:


874-33/Ntc Removal to USDC..nko.rkh
Case 1:20-cv-00547-JAO-RT Document 1 Filed 12/10/20 Page 2 of 8             PageID #: 2




                             NOTICE OF REMOVAL

         Defendant COSTCO WHOLESALE CORPORATION (“Costco”) gives

notice, pursuant to 28 U.S.C. §§1441 and 1446, of the removal of this case from

the Circuit Court of the First Circuit, State of Hawaiʻi, to the United States District

Court for the District of Hawaiʻi. The removal is grounded upon the following

facts:

         1.   A civil lawsuit (the “Action”) has been commenced and is currently

pending against Costco and various Doe Defendants in the Circuit Court of the

First Circuit, State of Hawaii, Civil No. 1CCV-XX-XXXXXXX (BIA), entitled Ray

Moriguchi vs. Costco Wholesale Corporation, et al.

         2.   The initial pleading in the Action was Plaintiff’s Complaint filed on

April 14, 2020. The Complaint was served upon Costco on November 10, 2020.

This notice of removal is filed within 30 days after said service. A true and correct

copy of the Complaint is attached hereto as Exhibit “A”. Exhibit “A” constitutes

all of the process, pleadings and orders served upon Costco to date.

         3.   Plaintiff claims to be a resident and citizen of the state of Hawaii.

Costco is a Washington corporation with a statutory home office and its principal

place of business located at 999 Lake Drive, Issaquah, WA 98027.




                                           2
Case 1:20-cv-00547-JAO-RT Document 1 Filed 12/10/20 Page 3 of 8          PageID #: 3




       4.    Upon information and belief, based upon the nature of Plaintiff’s

injuries and damages as related by his counsel, the amount in controversy in the

Action exceeds $75,000.00, exclusive of interest and costs.

       5.    Based upon the foregoing, the Court has original jurisdiction over the

Action under the provisions of 28 U.S.C. § 1332(a)(1) because there is complete

diversity of citizenship between the Plaintiff and Defendant, and the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

       6.    The Action is removable pursuant to 28 U.S.C. §§ 1441 (b).

       7.    A copy of this notice of removal will be served upon all adverse

parties.

       8.    A copy of this notice of removal will be filed with the Circuit Court of

the First Circuit, State of Hawaii, pursuant to 28 U.S.C. §1446(d), promptly after

the filing of this notice of removal.

       9.    Defendant reserves, and does not waive, its objections to jurisdiction

and venue and any applicable affirmative defenses under Haw.R.Civ.P. 12 and/or

Fed.R.Civ.P. 12.

             DATED: Honolulu, Hawaii, December 10, 2020.


                                        /s/ Norman K. Odani
                                        ARTHUR F. ROECA
                                        NORMAN K. ODANI
                                        Attorneys for Defendant
                                        COSTCO WHOLESALE CORPORATION


                                         3
  Case 1:20-cv-00547-JAO-RT Document 1 Filed 12/10/20 Page 4 of 8                       PageID #: 4



 KIMBERLY PAFUNDI 10802
 SAMUEL P. KING, JR. 1396
'735 Bishop Street, Suite 304                                                    Electronically Filed
 Honolulu, Hawaii 96813                                                          FIRST CIRCUIT
 Tel. No. 521-6937                                                               1CCV-XX-XXXXXXX
 Fax No. 533-4745                                                                14-APR-2020
 Emails: kimberly@pafundilaw.com                                                 01:26 PM
         sam@kingandking.com

 Attorneys for Plaintiff RAY MORIGUCHI

                      1N THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                        STATE OF HAWAII

 RAY MORIGUCHI,                                   )Civ. No.
                                                  )(Other Non-Vehicle Tort)
        Plaintiff,                                )
                                                  )COMPLAINT;SUMMONS
          vs.                                     )
                                                  )
 COSTCO WHOLESALE CORPORATION,                    )
 and DOE DEFENDANTS 1-10,                         )
                                                  )
        Defendants.                               )
                                                  )
                                           COMPLAINT
        Plaintiff,RAY MORIGUCHI("MORIGUCHI"),by and through undersigned counsel,hereby
 states for his Complaint as follows:
        1. MORIGUCHI is, and was at all times relevant to this Complaint, a resident of the City
 and County of Honolulu, State of Hawaii.
        2. Defendant COSTCO WHOLESALE CORPORATION("COSTCO")is, and was at all
 times relevant to this Complaint, a duly registered for-profit foreign corporation in the State of
 Hawaii with its offices and principal place of business in the State of Washington. COSTCO
 operates a store in the Hawaii Kai area for the sale of food and other consumer items which is
 located at 333A Keahole Street, Honolulu, Hawaii 96825,in the City and County ofHonolulu, State
 of Hawaii (hereinafter referred to as the "Costco Hawaii Kai store").
        3. DOE DEFENDANTS 1-10 are persons(male or female),corporations(both for-profit and
 nonprofit), partnerships, limited partnerships, LLCs,joint ventures, or other business entities, the




                                           EXHIBIT "A"
Case 1:20-cv-00547-JAO-RT Document 1 Filed 12/10/20 Page 5 of 8                           PageID #: 5



identity of which Plaintiff, after diligent and good-faith effort, has not been able to ascertain at this
time, who or which are responsible, either severally or jointly with COSTCO and some or all ofthe
other DOE Defendants, for the injuries suffered by MORIGUCHI as alleged herein because of
negligence or other improper action in failing to maintain the Costco Hawaii Kai store in a safe
condition for persons walking in the area on the side ofthe Costco Hawaii Kai store on the date and
time when MORIGUCHI was injured as alleged herein. MORIGUCHI has named all Defendants
in this Complaint about which he and his attorneys have knowledge based on negotiations attempting
to settle MORIGUCHI's claim up to this time. MORIGUCHI seeks leave, after a reasonable
opportunity for further investigation or discovery, to name in this Complaint further DOE
DEFENDANTS as they are identified pursuant to Rules 17 and 11 of the Hawaii Rules of Civil
Procedure.
        4. On or about April 16, 2018, at about 12:30 p.m., MORIGUCHI was walking on the side
of the Costco Hawaii Kai store where food is sold and soda drinks are dispensed.
        5. As MORIGUCHI approached the soda dispenser, he slipped on a wet area in front ofthe
soda dispenser and fell down injuring himself.
        6. COSTCO was responsible to maintain the area in front of the soda dispenser located on
the side of its Costco Hawaii Kai store in a safe condition for persons walking in the area.
        7. COSTCO was negligent in failing to maintain the area in front of the soda dispenser
located on the side of its Costco Hawaii Kai store in a safe condition in the area through which
MORIGUCHI walked on or about April 16,2018,as alleged above by allowing the area and walking
surface to become wet and slippery.
        8. As a result ofthe negligence ofCOSTCO as alleged above, MORIGUCHI slipped on the
wet and slippery surface and suffered injures to his left knee, leg, and thigh, and other parts of his
body, and incurred pain and suffering and potential future physical problems and pain and suffering
for which he is entitled to receive monetary compensation from COSTCO in an amount which will
be shown at the time of trial ofthis case..
        9. As a result of the negligence of COSTCO as alleged above, MORIGUCHI incurred
medical and other expenses and possible future medical expenses for which he is entitled to receive
monetary compensation from COSTCO in amounts which will be shown at the time of trial of this
case.
        10. As a result ofthe negligence ofCOSTCO as alleged above,MORIGUCHIsuffered a loss

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                                           EXHIBIT "A"
 Case 1:20-cv-00547-JAO-RT Document 1 Filed 12/10/20 Page 6 of 8                     PageID #: 6



ofincome and wages and possible future loss ofincome and wages for which he is entitled to receive
monetary compensation from COSTCO in amounts which will be shown at the time of trial in this
case.
        WHEREFORE, MORIGUCHI prays for a monetary award for past, present, and potential
future special and general damages against COSTCO and all DOE DEFENDANTS,jointly and
severally, in amounts which will be shown at the time of trial in this case and for such other and
further relief as the Court deems appropriate.
        DATED: Honolulu, Hawaii, April 14, 2020.


                                              /s/ Kimberly Pafundi
                                      KIMBERLY PAFUNDI
                                      SAMUEL P. KING, JR.
                                      Attorneys for Plaintiff RAY MORIGUCHI




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                                          EXHIBIT "A"
        Case 1:20-cv-00547-JAO-RT Document 1 Filed 12/10/20 Page 7 of 8 PageID #: 7
   ' STATE OF HAWAII                                            CASE NUMBER
                                         SUMMONS
   CIRCUIT COURT OF THE           TO ANSWER CIVIL COMPLAINT
       FIRST CIRCUIT
 PLAINTIFF                                                      VS.       DEFENDANT(S)
 RAY MORIGUCHI                                                           COSTCO WHOLESALE CORPCWICAMPtikiterFiled
                                                                         DEFENDANTS 1-10       FIRST CIRCUIT
                                                                                                             1CCV-XX-XXXXXXX
                                                                                                             14-APR-2020
                                                                                                             01:26 PM




 PLAINTIFF'S NAME & ADDRESS, TEL. NO.
 Kimberly Pafundi
 Samuel P. King, Jr.
 735 Bishop Street, Suite 304
 Honolulu, Hawaii 96813
 Attorneys for Plaintiff RAY MORIGUCHI




    TO THE ABOVE-NAMED DEFENDANT(S)
             You are hereby summoned and required to file with the court and serve upon
    Kimberly Pafundi and Samuel P. King, Jr.


                                                                                                                              '
     plaintiffs attorney, whose address is stated above, an answer to the complaint which is herewith served upon you, within
     20 days after service of this summons upon you, exclusive of the date of service. If you fail to do so, judgment by default
     will be taken against you for the relief demanded in the complaint.

          THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN 10:00 P.M. AND 6:00 A.M. ON
          PREMISES NOT OPEN TO THE GENERAL PUBLIC, UNLESS A JUDGE OF THE ABOVE-ENTITLED
          COURT PERMITS,IN WRITING ON THIS SUMMONS,PERSONAL DELIVERY DURING THOSE HOURS.
          A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRY OF DEFAULT AND DEFAULT
          JUDGMENT AGAINST THE DISOBEYING PERSON OR PARTY.


                                                                                                                      IC1
    The original document is filed in the                             Effective Date of 28-Oct-2019                    —
    Judiciary's electronic case management                                                                            =-1,
                                                                                                                         :1
                                                                      Signed by: /s/ Patsy Nakamoto
    system which is accessible via eCourt Kokua
    at: http:/www.courts.state.hlus                                   Clerk, 1st Circuit, State of Hawaii
                                                                                                                      Or ,

                In accordance with the Americans with Disabilities Act, and other applicable state and federal laws, if you require a
                reasonable accommodation for a disability, please contact the ADA Coordinator at the Circuit Court Administration Office on
                OAHU- Phone No. 808-539-4400, TTY 808-539-4853, FAX 539-4402, at least ten (10) working days prior to your hearing or
(Sp             appointment date.




Form 1C-P-787(1CCT)(12(19)
Summons to Complaint ERG-AC-508(10/19)



                                                              EXHIBIT "A"
Case 1:20-cv-00547-JAO-RT Document 1 Filed 12/10/20 Page 8 of 8          PageID #: 8




                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAIʻI

RAY MORIGUCHI,                                CIVIL NO. 20-547
                                              (Other Non-Vehicle Tort)
               Plaintiff,
                                              CERTIFICATE OF SERVICE
    vs.

COSTCO WHOLESALE
CORPORATION; and DOE
DEFENDANTS 1-10,                              Trial Date: None
                                              Judge:
               Defendants.


                            CERTIFICATE OF SERVICE
      The undersigned hereby certifies that a true and correct copy of the
foregoing document was served by either hand-delivery; United States mail, first
class postage prepaid; or electronically through CM/ECF (“CM/ECF”) as indicated
below, upon the following on December 10, 2020:
                                       U.S.           Hand
                                       Mail          Delivery          CM/ECF

KIMBERLY PAFUNDI, ESQ.                                                       X
SAMUEL P. KING, JR., ESQ.
735 Bishop Street, Suite 304
Honolulu, HI 96813
      Attorneys for Plaintiff

            DATED: Honolulu, Hawaii, December 10, 2020.

                                      /s/ Norman K. Odani
                                      ARTHUR F. ROECA
                                      NORMAN K. ODANI
                                      Attorneys for Defendant


                                         4
